Case 2:05-Cr-20254-BBD Document 19 Filed 08/03/05 Page 1 of 2 Page|D 18

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IN THE UNITED sTATEs DISTRICT coURT ` D-C-
FoR THE WESTERN.DISTRICT oF TENNESSEE 95 AUG ._3 AH
WESTERN DIVISION ' ' : ‘*¢#

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UNITED sTATEs oF AMERICA *""*' 55 »-tti-/:PS§UW

  

V. 05-20254-01-1)

MEIKA “SHON” BRITTON

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 6 " 3 ~ O 5 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME Qw/M C"€ lé&’/\ who is Retained/§_pp_oiii_tgci.__

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

j
UNITED STATES MAGISTRATE JUDGE
CHARGES: 18:1028 & 2; 42:408;
U. S. Attorney assigned to Case: S. Parker

Age:

Thls document entered on the dockets t l o ce
with Ru|e 55 and/or 32(!:.) Fi`-ti,`:i-’ on

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20254 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

